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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.         CASE NO. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS.


                                    /


                                          ORDER


        This cause is before the Court on:

        Dkt. 763      Motion to Allow the Use of Electronics in the Courthouse

        Defendant Nathaniel Harris moves for permission for the within named individual
 to bring in a laptop computer, tablet device, cellular telephone, and personal wireless
 printer for use during the trial of this case, which will commence at 10:00 a.m. on
 Monday, June 6, 2016. The trial is expected to continue through August, 2016.


        Defendant Harris requests leave to bring in a laptop computer and tablet device
 for the purpose of taking notes, keeping track of evidence, and, if necessary, preparing
 documents during trial. Defendant Harris requests leave to bring in a cellular telephone
 to contact witnesses and support staff. Defendant Harris requests leave for the within-
 named individual to bring in her personal wireless printer and leave it in the defense
 counsel room for the duration of the trial, to print necessary documents during the trial.


        After consideration, the Court grants the Motion to Allow the Use of Electronics in
 the Courthouse to the following individual:
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       Colleen Quinn-Adams
       Colleen Quinn Investigations &
       Mitigation
       309 N. Howard Ave.
       Tampa, FL 33606
       813-310-4249                                     Laptop computer, tablet device,
                                                        personal wireless printer to be
                                                        left in defense counsel room;
                                                        cellular telephone


 DATE THAT EQUIPMENT MAY
 BE BROUGHT INTO THE FACILITY:                   June 6, 2016, until conclusion of trial.

 PURPOSE:                                        To take notes, keep track of evidence,
                                                 prepare documents, contact witnesses.

 PLACE AT WHICH EQUIPMENT
 MAY BE USED:                                    Courtroom 14A


 Each individual shall present a copy of this Order upon entering the security station,
 and proper identification will be required. All electronic equipment remains subject to
 inspection by the U.S. Marshal, pursuant to Fed. R. Crim. P. 53 (prohibiting courtroom
 photography and broadcasting in criminal cases) and Local Rule 4.11(a)(2)(prohibiting
 courtroom photography and broadcasting in all cases). A copy of General Order 6:13-
 MC-94-ORL-22 is attached to this Order.


        In the event that Defendant intends to use the laptop computer for presentation
 of evidence during the trial, Defendant shall contact the Courtroom Deputy, Robin Korb,
 (813-301 -5737) for an equipment check prior to commencement of trial. Accordingly, it
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         ORDERED that Defendant Nathaniel Harris’ Motion to Allow Use of Electronics
 in the Courthouse is granted as to the within-named individual. Counsel for Defendant
 Nathaniel Harris shall provide a copy of this Order to the individual who is authorized
 to bring in and use the electronic equipment during trial.




         DONE and ORDERED in Chambers in Tampa, Florida on this              day of May,
 2016.




 All parties and counsel of record
 Robin Korb, CRD
 CSO




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